FRED
. US RITE SOUT
ojf6.4.19 BETH OT GS ee LARS
USAO# 2018RO0808/LNE/MCH; 7" comes

2019 JUR -S PM 9:37
IN THE UNITED STATES DISTRICT COURT

AD

FOR THE-DISTRICT OF MARYLAND

Ad WAL Wind
UNITED STATES OF AMERIGA DEPUTY
* _— :
v. * criminaLno, LH 147 O2¢0
Xe
JEBRIEL ALI, * (Conspiracy to Distribute and Possess
a/k/a “BRIL”, * with the Intent to Distribute Controlled
* Substances, 21 U.S.C. § 846; Possession
Defendant. * of a Firearm in Furtherance of a Drug
* Trafficking Crime, 18 U.S.C. § 924 (c);
* Possession of a Firearm and
* Ammunition by a Prohibited Person, 18
* US.C. §922(¢)1); Aiding and
* Abetting, 18 U.S.C. § 2; Forfeiture, 18
* U.S.C. § 924(d), 28 U.S.C. § 2461(c))
*
he de ve tek te ke
INDICTMENT
COUNT ONE

(Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances)
The Grand Jury for the District of Maryland charges that:
From or about January 30, 2019 and continuing until on or about the date of this Indictment,
in the District of Maryland and elsewhere, the defendant,

JEBRIEL ALI,
a/k/a “BRIL”,

and others known and unknown, did knowingly and willfully combine, conspire, confederate and
agree to distribute and possess with intent to distribute a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, in violation of 21 U.S.C. § 841.

21 U.S.C. § 846
COUNT TWO
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

The Grand Jury for the District of Maryland further charges that:
On or about March 27, 2019, in the District of Maryland, the defendant,

JEBRIEL ALI,
a/k/a “BRIL”,

did knowingly possess a firearm, to wit: (1) Zastava arms Model Pap M92PV, 7.62x39 MM semi-
automatic pistol, serial 4M92PV05 1800; (2) Glock Model 19 GEN 4, 9MM Luger, semi-automatic
pistol, serial # TCE360; (3) Sig Sauer Model P320, 9MM Luger, semi-automatic pistol, serial #
58B009451; and (4) SWD, Model M-11, 9MM Luger, semi-automatic pistol, serial #890042546,
in furtherance of a drug trafficking crime for which he may be prosecuted in a court of the United
States, to wit, Conspiracy to Distribute and Possess with the Intent to Distribute Controlled
Substances, in violation of Title 21, United States Code, Section 846, as alleged in Count One of
this Indictment, which is incorporated herein by reference.

18 U.S.C. § 924(c)
18 U.S.C. § 2
COUNT THREE
(Possession of Firearm and Ammunition by a Prohibited Person)

The Grand Jury for the District of Maryland further charges that:
On or about March 27, 2019, in the District of Maryland, the defendant,

JEBRIEL ALI,
a/k/a “BRIL”,

. having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting commerce a firearm and ammunition, to wit: (1) Zastava arms
Model Pap M92PV, 7.62x39 MM semi-automatic pistol, serial #M92PV051800 loaded with 30
rounds of ammunition; (2) Glock Model 19 GEN 4, 9MM Luger, semi-automatic pistol, serial #
TCE360, M92PV051800 loaded with 25 rounds of ammunition; (3) Sig Sauer Model P320, 9MM
Luger, semi-automatic pistol, serial # 58B009451, M92PV051800 loaded with 5 rounds of
ammunition; and (4) SWD, Model M-11, 9MM Luger, semi-automatic pistol, serial #890042546,
M92PV051800 loaded with 22 rounds of ammunition, and did so knowingly.

18 U.S.C. § 922(g)
COUNT FOUR
(Possession of Firearm and Ammunition by a Prohibited Person)

The Grand Jury for the District of Maryland further charges that:
On or about May 21, 2019, in the District of Maryland, the defendant,

JEBRIEL ALI,
a/k/a “BRIL”,

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting commerce a firearm and ammunition, to wit: (1) a Glock Model
22C, 40 caliber, fully-automatic pistol, serial number ABKH577, loaded with 29 rounds of
ammunition and did so knowingly.

18 U.S.C. § 922(2)
FORFEITURE
The Grand Jury for the District of Maryland further charges that:
‘1, Pursuant to Rule 32.2, Fed, R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with Title 18,
United States Code, Section 924(d), and Title 28, United States Code, Section 2461(c), as a result
of the defendant’s conviction under Counts One, Two, or Three of the Indictment.
2. As aresult of the offenses alleged this Indictment, the defendant,

JEBRIEL ALI,
a/k/a “BRIL”,

shall forfeit to the United States the firearm involved in the commission of the offense (1) a Glock
Model 22C, .40 caliber fully-automatic pistol, loaded with 28 rounds and one in the chamber, serial
number ABKH577; (2) Zastava arms Model Pap M92PV, 7.62x39 MM semi-automatic pistol,
serial #M92PV051800 loaded with 30 rounds of ammunition; (3) Glock Model 19 GEN 4, 9MM
Luger, semi-automatic pistol, serial # TCE360, M92PV051800 loaded with 25 rounds of
ammunition; (4) Sig Sauer Model P320, 9MM Luger, semi-automatic pistol, serial # 58B009451,
M92PV051800 loaded with 5 rounds of ammunition; and (5) SWD, Model M-11, 9MM Luger,
semi-automatic pistol, serial #890042546, M92PV051800 loaded with 22 rounds of ammunition.

18 U.S.C. § 924(d)
28 U.S.C. § 2461(c)

abort LY (Mh

 

Robert K. Hur

United States Attorney
__A TRUE E BILL: |
_ SIGNATURE REDACTED Shel & 2019
"“Foreperson——- ——- -— Date °
